 Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 1 of 11

                                                                 Richard E. Coe
                                                                 215-988-3393 Direct
                                                                 215-988-2757 Fax
                                                                 richard.coe@dbr.com




                                    September 13, 2018



VIA ECF

The Honorable Susan E. Schwab
United States District Court
  Middle District of Pennsylvania
228 Walnut Street
Harrisburg, PA 17101

Re:    Marsulex Environmental Technologies Corp. v. Selip S.P.A.,
       Case No. 1:15-cv-00269

Dear Judge Schwab:

        I write on behalf of Plaintiff Marsulex Environmental Technologies Corporation
(“MET”) in the above-captioned action. In accordance with Your Honor’s procedures,
MET writes to request Your Honor’s permission to file a Motion for Sanctions against
Defendant Selip S.P.A. (“Selip”) due to Selip’s unabashed discovery abuses and repeated
failures to comply with this Court’s discovery Orders.

        This case involves straightforward claim that Selip failed to manufacture piping in
accordance with its own design and drawings, but Selip has dragged out this litigation
unnecessarily for three and half years without even reaching the summary judgment
stage. Throughout the discovery process, Selip’s actions have made clear that its strategy
is to prolong this action as long as possible in the hopes that MET’s attorneys’ fees will
outweigh any recovery.

        Selip’s conduct has resulted in significant prejudice to MET. After years of
attempting to work with Selip to remedy its deficient documents production, and multiple
orders from this Court ordering Selip to comply with its discovery obligations, it is
apparent that Selip has no intention of following the discovery rules and sanctions are
warranted. Pursuant to Federal Rule of Civil Procedure 37, MET has grounds to move
this Court for an order: (1) requiring Selip to pay all costs and attorneys’ fees incurred by
MET in compelling discovery; (2) entering a default judgment against Selip for its
violations of the Court’s discovery orders; or (3) as an alternative to default judgment,
precluding evidence related to Selip’s defense that the FRP piping at issue would have
failed even if it had been manufactured in accordance with MET’s specifications and
Selip’s design.
 Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 2 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 2


Background

        Almost three years ago, on October 14, 2015, MET served its First Set of
Interrogatories and First Set of Requests for the Production of Documents (the
“Discovery Requests”) on Selip via First Class Mail. Ex. A, Oct. 14, 2015 Letter from C.
Piccolo to M. Shindell. In line with the straightforward nature of its claims, MET’s
Discovery Requests were limited in number and scope, and contained only five
interrogatories and ten requests for production. On December 1, 2015, it was ordered
that the parties respond to the discovery that was previously propounded and all other
discovery be stayed pending the resolution of Selip’s motion to dismiss. Selip served
responses to the Discovery Requests (the “Discovery Responses”) on December 8, 2015.
See Ex. B, Def.’s Disc. Responses. Selip’s Discovery Responses, however, contained a
number of deficiencies that MET has brought to Selip’s attention on numerous occasions.

        After the discovery stay was lifted, Christian E. Piccolo, counsel for MET, sent an
email to Matthew R. Shindell, former counsel for Selip, on June 24, 2016 outlining
deficiencies in seven of Selip’s Discovery Responses and requesting that Selip provide
more specific answers to those requests. See Ex. C, June 24, 2016 Email from C Piccolo
to M. Shindell. For example, in Request for Production No. 1, MET requested “[a]ll
documents relating to the June 2010 FRP piping, including any communications with
MET or ZAP regarding the June 2010 FRP piping . . . .” because Selip’s production only
included a handful of emails. Ms. Piccolo requested that Selip produce all electronic
correspondence Selip has regarding the June 2010 FRP piping. Id.

       On June 30, 2016, Selip filed a motion to dismiss the amended complaint and
again discovery was placed on hold. The Court ruled on Selip’s motion to dismiss the
amended complaint on March 27, 2017 and referred the case to mediation on April 6,
2017. In an Order dated June 12, 2017, the Court cancelled all pretrial and trial deadlines
pending the conclusion of mediation. On September 21, 2017, Selip’s CEO, Carlo
Romani, informed representatives of MET that mediation was not likely to be productive.
An amended case management order was entered on October 26, 2017.

         On January 11, 2018, following Selip’s replacement of its counsel, a deficiency
letter (the “Deficiency Letter”) was sent to Michael D. Brophy, counsel for Selip,
requesting that Selip remedy its outstanding discovery deficiencies by January 19, 2018.
See Ex. D, Jan. 11, 2018 Letter from R. Coe to M. Brophy. MET also served notices of
deposition on three Selip employees. On January 18, 2018, the parties met in person to
discuss the Deficiency Letter. During this meeting, Mr. Brophy represented that Selip
was likely in possession of additional documents responsive to the Discovery Requests
and that Selip would produce such documents.
 Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 3 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 3


        On February 7, 2018, an email was sent to Mr. Brophy confirming MET’s
understanding that Selip planned to produce additional documents and inquiring as to the
date when the documents were to be produced. See Ex. E, Feb. 7, 2018 Email from L.
Michelen to M. Brophy. MET stated that it might be required to file a motion with the
Court if the documents were not produced in a timely manner. Id. Mr. Brophy
responded on February 8, 2018 and confirmed that Selip was in possession of additional
responsive documents. Id. Mr. Brophy also requested that Selip be granted until
February 16, 2018 to provide a more detailed response to the Deficiency Letter. Id.
MET agreed to that deadline. Id.

       After not receiving a response from Selip by the new deadline, MET sent a
follow-up email to Mr. Brophy on February 20, 2018, inquiring when the additional
documents would be produced. See Ex. F, Feb. 20, 2018 Email from L Michelen to M.
Brophy. Mr. Brophy responded and requested that Selip have until March 2, 2018 to
produce the additional documents and respond to the Deficiency Letter. Id.

        On March 12, 2018, MET emailed Mr. Brophy again and requested an update on
Selip’s efforts to comply with its outstanding discovery obligations. Ex. G, Mar. 12,
2018 Email from L. Michelen to M. Brophy. The email informed Mr. Brophy that, due
to the impending discovery deadline, MET would file a motion to compel if it did not
receive a response to its Deficiency Letter by March 16, 2018. Id. On March 13, 2018,
the parties had a call to discuss MET’s intention to file a motion to compel. MET did not
receive any updates from Selip after the March 13, 2018 call.

       On March 23, 2018, Richard Coe, counsel for MET, submitted a letter to the
Court in lieu of a motion to compel in accordance with the Court’s procedures. Ex. H,
Mar. 23, 2018 Letter from R. Coe to Judge Schwab. After an April 13, 2018 status
conference to address the discovery dispute, the Court ordered Selip to supplement its
document production by April 26, 2018.

        On April 25, 2018, Selip made a “new” production of documents. However,
Selip, for the most part, merely recycled its prior production and only produced four new
documents, all of which were already in MET’s possession.

        On May 24, 2018, a deposition of Mr. Romani was held. During the deposition,
Mr. Romani confirmed that Selip ignored its discovery obligations and was in the
possession of additional responsive document it has not yet produced. See Ex. I, Romani
Dep. at 79:21-81:16; 114:20-115:14. Among other things, Mr. Romani testified that
Selip’s quality management department conducted an investigation and issued a report
related to the piping failure but that report was “internal documentation” and did not need
to be shared with customers like MET (or apparently produced in discovery). Id. at
 Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 4 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 4


79:21-81:16. Shockingly, during this portion of his testimony, Mr. Romani explicitly
stated that he purposefully withheld this report:

               Q: And was there a report generated, was it Mr. De
               Girgio?
               A: Yes.
               Q: Would it be different than this report?
               A: Oh, yes. It's an internal documentation that we do
               not have to share with customers or suppliers. It's about
               our quality internal management system. But as I told you
               before, that happens when we recognize something wrong
               within the supply; not in this case. If we made it is because
               of the wide case that this claim took within Selip. So that's
               why I said it might be available or not because it is
               discretionally [sic].
Id. (emphasis added).
       Mr. Romani further testified that such a report was generated because of “the
wide case that this claim took within Selip,” confirming that the FRP piping failure in this
case was the subject of intense discussion at Selip. Id.

        On May 31, 2018, the parties met and conferred regarding discovery and MET
sent an email to Selip’s counsel following up on several deficiencies in Selip’s
production identified during Mr. Romani’s deposition. MET identified six categories of
deficiencies in Selip’s document production, including Selip’s internal communications,
the report from Selip’s internal investigation of the incident, and certain calculations Mr.
Romani referenced in his depositions. See Ex. J, May 31, 2018 Email from R. Coe to M.
Brophy. On June 7, 2018, MET’s counsel responded to an email from Selip’s counsel
about the MET 30(b)(6) deposition by stating that MET was still waiting for a response
to its May 31, 2018 email and repeating that discovery from Selip was more urgent and
should be completed first because MET needed that discovery before submitting its
expert reports in July. See Ex. K, June 7, 2018 Email from R. Coe to M. Brophy.

       After ignoring several more communications from MET emphasizing the
importance of Selip completing its document production, Selip submitted a letter to the
Court requesting that it address Selip’s request for a Rule 30(b)(6) deposition. See Ex. L,
June 20, 2018 Letter from M. Brophy to Judge Schwab. In lieu of filing a motion to
compel and a motion for sanctions and in accordance with the Court’s procedures, MET
responded on June 21, 2018, detailing Selip’s repeated failure to meet its discovery
 Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 5 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 5


obligations, MET’s numerous attempts to obtain discovery, and requesting that the Court
award MET costs and fees associated with the two letters MET sent to the court in an
attempt to force Selip to comply with its discovery obligations. See Ex. M, June 21, 2018
Letter from R. Coe to Judge Schwab.

        On July 11, 2018, Judge Schwab entered a Fourth Amended Scheduling Order
and a separate Order requiring Selip to produce “any additional documents that were
requested by [MET] and that were identified during Selip’s CEO Carlo Romani’s
deposition.”

         On August 8, 2018, Selip made a supplemental document production. Notably,
this production did not contain any internal Selip communications regarding the FRP
piping failure or the report from Selip’s internal investigation. The production did,
however, contain several documents that should have been produced nearly three years
ago. The bulk of Selip’s production were Selip manufacturing procedures, such as a
procedure for painting FRP products and a procedure for manufacturing FRP products.
These procedures are responsive to MET’s Second Request for Production, requesting
“All documents relating to Selip’s manufacturing policies, processes, and procedures for
FRP piping from 2005 to present, including, but not limited to, documents relating to
Selip’s quality control policies, processes, and procedures.”
         In addition, Mr. Romani claimed during his deposition that, even if Selip’s piping
was not manufactured in accordance with the drawings it supplied, the piping would not
have failed based on calculations supposedly performed by Selip’s engineers. Mr.
Romani acknowledged that he had seen these calculations prior to his deposition but that
he did not provide those calculations to his attorney for production. Ex. I, Romani Dep.
at 114:20-115:14. In the August 8, 2018 production, Mr. Brophy purported to produce
these calculations. However, the document containing the calculations is dated July 11,
2018, a month after Mr. Romani’s deposition. During an August 23, 2018 conversation
between Mr. Coe and Mr. Brophy, Mr. Brophy stated that these documents may have
been “recreated” and that he would check with his client. The following day, Mr. Coe
sent an email to Mr. Brophy asking him to explain when the two documents were created.
Ex. N, Aug. 24, 2018 Email from R. Coe to M. Brophy. Mr. Brophy has not responded
to this request.

MET’s Grounds to File a Motion for Sanctions

       District courts have broad discretion in determining whether sanctions are
appropriate for violation of the discovery rules or the Court’s discovery orders. See, e.g.,
Ware v. Rodale Press, Inc., 322 F.3d 218, 225 (3d Cir. 2003). Fed. R. Civ. P.
37(b)(2)(A) provides that, if a party fails to obey a discovery order, a district court may
impose the following non-exhaustive list of sanctions: (i) directing that the matters
embraced in the order or other designated facts be taken as established for purposes of the
    Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 6 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 6


action, as the prevailing party claims; (ii) prohibiting the disobedient party from
supporting or opposing designated claims or defenses, or from introducing designated
matters in evidence; (iii) striking pleadings in whole or in part; (iv) staying further
proceedings until the order is obeyed; (v) dismissing the action or proceeding in whole or
in part; (vi) rendering a default judgment against the disobedient party; or (vii) treating as
contempt of court the failure to obey any order except an order to submit to a physical or
mental examination. Fed. R. Civ. P. 37(a)(5)(A) mandates that the Court order the
payment of reasonable expenses after a motion to compel is granted or the requested
discovery is produced after the motion is filed unless other circumstances make an award
of expenses unjust.

         Costs and Attorneys’ Fees

        MET is entitled to recover its costs and attorneys’ fees associated with compelling
discovery. Pursuant to Fed. R. Civ. P. 37(a)(5)(A), if a motion to compel is made and the
nonmoving party provides the requested discovery after the motion is made, the court
“must, after giving an opportunity to be heard, require the party or dependent whose
conduct necessitated the motion, the party or attorney advising that conduct, or both to
pay the movant’s reasonable expenses incurred in making the motion, including
attorneys’ fees.” Id. (emphasis added); see also Stufft v. Kennametal, Inc., No. CIV.A.
3:13-120, 2014 WL 1803348, at *1 (W.D. Pa. May 6, 2014); Pugliese v. Cty. of
Lancaster, No. 12-CV-07073, 2014 WL 5470469, at *3 (E.D. Pa. Oct. 29, 2014));Winner
v. Etkin & Co., No. 2:07-CV-903, 2008 WL 5429623, at *4 (W.D. Pa. Dec. 31, 2008).

        As part of MET’s First Set of Requests for Production of Documents, it requested
“[a]ll documents relating to Selip’s manufacturing policies, processes, and procedures for
FRP piping from 2005 to present, including, but not limited to, documents relating to
Selip’s quality control policies, processes, and procedures.” See Ex. A, RFP No. 2, MET
First Set of Requests for Production. Despite multiple correspondences with opposing
counsel regarding this specific issue, including a deficiency email and deficiency letter,
Selip refused to produce the requested documents until MET sought assistance from the
Court in compelling the necessary discovery. In fact, it was not until August 8, 2018—
after MET was forced to send two letters to the Court and the Court entered two orders
requiring Selip to comply its discovery obligations— that Selip provided MET with six
documents related to Selip’s procedures for the manufacture of FRP piping that were not
previously produced. 1

       Because these documents are responsive to Request for Production No. 2 and
were not produced until MET after sought intervention from this Court multiple times,
1
  Alternatively, MET should be awarded its costs and fees associated with drafting its two discovery letters
to the Court because the Court entered an Order compelling Selip to produce additional discovery in
response to each letter, effectively granting MET’s motions to compel.
 Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 7 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 7


MET is entitled to recover the costs, including attorneys’ fees, that it incurred in
compelling Selip to produce these documents.

       Default Judgment

       Fed. R. Civ. P. 37(b)(2)(A)(vi) authorizes district courts to render a default
judgment against a party that disobeys a discovery order from the court. ASD Specialty
Healthcare, Inc. v. New Life Home Care, Inc., No. CIV.A. 3:11-0068, 2013 WL
1482777, at *8 (M.D. Pa. Apr. 10, 2013); Curtis T. Bedwell & Sons, Inc. v. Int'l Fid. Ins.
Co., 843 F.2d 683, 696–97 (3d Cir. 1988).

         Here, a default judgment should be entered against Selip because it repeatedly
failed to produce internal communications related to the catastrophic failure of the FRP
piping. Selip’s representation that it has no internal communications regarding the failure
of the FRP piping is implausible and contradicted by Mr. Romani’s deposition testimony.
In his deposition, Mr. Romani testified that, at the very least, Selip created an internal
report documenting the results of Selip’s investigation of the FRP piping failure. Ex. I,
Romani Dep. at 79:21-81:16. He further testified that Selip internally “debated a lot what
happened,” id. at 96:21-97:8, which makes sense because Mr. Romani testified that no
customer had ever made such a claim against Selip in its roughly sixty year history. Id. at
114:2-10. Mr. Romani further described meeting with a number of employees to
evaluate what caused the piping failure. Id. at 96:21-97:8. It makes no sense that Selip
would have sent zero emails or other internal communications about an event that it
admits was so monumental. Indeed, Mr. Romani essentially admitted that Selip
intentionally withheld these internal communications because it is his belief that these
internal communications do not need to be shared with customers. That may be the rule
in Italy, but is certainly not the rule under the Federal Rules of Civil Procedure.

        When determining whether to enter a default judgment for non-compliance with a
discovery order, courts will look to the six factors set forth in Poulis v. State Farm Fire &
Casualty Co., 747 F.2d 863, 868 (3d Cir.1994): (1) the extent of the party’s personal
responsibility; (2) the prejudice to the adversary caused by the failure to meet scheduling
orders and respond to discovery; (3) a history of dilatoriness; (4) whether the conduct of
the party or the attorney was willful or in bad faith; (5) the effectiveness of sanctions
other than dismissal, which entails an analysis of alternative sanctions; and (6) the
meritoriousness of the claim or defense. No single factor is dispositive, every factor need
not be present, and “there is no ‘magic formula’” for balancing these six factors. United
States v. Zimmerman, No. 09-5158, 2011 U.S. Dist. LEXIS 42121, at *13 (E.D. Pa. Apr.
19, 2011).

        It is clear that all of the Poulis factors weigh in favor of granting default judgment
in favor of MET. First, Selip, not its attorney, is the primary cause of its failure to
 Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 8 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 8


produce relevant documents. MET has no reason to believe that Mr. Brophy has not
inquired about the relevant documents and appropriately informed Selip of its discovery
obligations. However, based on the deposition of Mr. Romani and Selip’s deficient
document productions, Selip nevertheless is withholding critical documents of its own
accord.

         Second, Selip’s failure to comply with the Court’s discovery orders has resulted
in substantial prejudice to MET. The documents Selip refuses to produce, such as its
internal analysis of the FRP piping failure and internal communications related to that
failure, are critical to MET’s claims. The cause of the FRP piping failure is the crux of
MET’s claim that Selip breached its contract with MET by failing to provide FRP piping
manufactured in accordance with the parties’ contract. MET has attempted to obtain
these communications for nearly three years without success. Another Court Order
requiring Selip to produce these documents in unlikely to be successful – Selip has
already ignored two such orders. Even if it did result in the production of additional
internal communications, the damage has already been done because MET has been
unable fully to prepare its case without these documents. More importantly, MET has
been prejudiced by Selip’s delay tactics, which have significantly increased MET’s fees,
and would be further prejudiced if the discovery deadline is further extended.

       Third, Selip has a history of dilatoriness. It has been almost three years since
MET first served discovery requests. Since then, this Court has intervened twice and
ordered Selip produce document on two separate occasions. Selip continues to ignore the
Court’s orders.

        Fourth, Selip acted willfully and in bad faith. There is no reason to believe that
Selip’s counsel has not advised Selip of its obligation to comply with the discovery rules,
and the repercussions for not doing so. Selip’s failure to produce internal
communications is an intentional attempt to prolong this litigation and needlessly
increase MET’s costs and fees.

       Fifth, sanctions other than a default judgment are not likely to be effective
because this Court has ordered that Selip produce the responsive documents twice and
Selip has ignored both of those Orders.

       Sixth, MET’s claims are meritorious. To establish that a claim is meritorious for
the purpose of default judgment pursuant to Fed. R. Civ. P. 37, the moving party does not
need to meet a summary judgment standard. Drozd v. Padron, No. 3:13-CV-2523, 2015
WL 507167, at *10 (M.D. Pa. Feb. 6, 2015). At a minimum, MET’s claims are
meritorious because they have survived Selip’s motion to dismiss. See id.

       Based on the above, MET has grounds to move for a default judgment pursuant to
Fed. R. Civ. P. 37(b)(2)(A)(vi) and should be permitted to do so.
 Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 9 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 9


       Preclusion of Evidence

        In the alternative, the Court should preclude evidence related to Selip’s defense
that the FRP piping would have failed even if it had been manufactured in accordance
with MET’s specifications and Selip’s design.

        Fed. R. Civ. P. 37(b)(2)(A)(i) and (ii) permit the Court to enter a sanctions order
that establishes “designated facts be taken as established for purposes of the action”
and/or “prohibit[s] the disobedient party from supporting designated claims or defenses,
or from introducing designated matters in evidence.”

        By way of background, as part of MET’s investigation of the catastrophic failure
of the FRP piping, it hired Fiberglass Structural Engineering (“FSE”) (a fiberglass
specialty engineering and inspection firm) to determine whether Selip constructed the
piping in accordance with the drawings and specifications provided by Selip. On August
15, 2014, FSE issued a report, stating that its “evaluation of flange samples indicate[d] a
generally poor construction method which use[d] low strength reinforcement and non-
structural components in the flange area, factors that reduce the load-bearing capability of
the flanges.” Id. at 25. For example, a key finding in the report was that Selip failed to
include the sixteen (16) layers of woven roving called for by its drawings in the flange
area of the FRP piping. Id. at 10 (Selip drawing), 21, 24. FSE found that all but one of
the samples it studied contained zero of the sixteen required layers of woven roving and
the remaining sample only had one of the required sixteen layers. Id. at 24-25. FSE
described this defect as “very significant since the woven roving is considered the
strength layer in hand lay-up laminates.” Id. at 24. FSE concluded that “[t]he strength in
the hub will be much less for a laminate consisting only of mat vs. the required laminate
that contains multiple layers of woven roving.” Id.

        During the deposition of Mr. Romani, Selip claimed for the first time that the FRP
piping would have failed even if it had been manufactured in accordance with MET’s
specifications and Selip’s design because the pressures in the Selip piping exceeded the
design parameters at the time of the failure. This speculative and unsupported testimony
was based on the hypothesis that MET’s customer, ZAP, might have conducted an air test
resulting in high pressures. Id. at 95:7-97:8. Mr. Romani had no basis for the hypothesis
other than pictures showing that the ZAP plant was clean several days after the accident
and a supposed calculation that a Selip engineer performed showing that the pipe would
have failed at these hypothetical pressures even if it had all of its woven roving lawyers.
Id. at 95:7-97:8; 114:20-115:10.

      This testimony relates to Selip’s failure to produce responsive documents because
Mr. Romani explicitly testified that he saw calculations. Id. at 114:20-115:14. If such a
document existed, it should have been produced years before Mr. Romani’s May 2018
Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 10 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 10


deposition, but was not. In addition to the calculations, there are likely several internal
communications relating to Mr. Romani’s request that the calculation be performed, the
parameters for the calculations, and the results of those and possibly other calculations.

        Based on Mr. Romani’s testimony, MET filed its second discovery letter with the
Court requesting that the Court compel Selip to produce this document, among other
things. Following an Order by the Court that Selip produce documents identified during
Mr. Romani’s deposition, Selip produced a single responsive document that appears to
have been created after Mr. Romani’s deposition. It is dated July 11, 2018. This
document was marked confidential. It is available and can be submitted to the Court
under seal if the Court wishes to review it.

        On August 24, 2018, MET requested that Selip’s counsel confirm whether this
document was created before or after July 11, 2018, but Selip did not respond to that
request. Ex. N, Aug. 24, 2018 Email from R. Coe to M. Brophy. Either these
calculations did not exist at the time of Mr. Romani’s deposition, and Mr. Romani’s
testimony was false, or the original calculations were destroyed and Selip spoliated
evidence.

        Regardless of the origins of this document, this conduct is just the latest example
of Selip’s sanctionable discovery conduct. Even if the document was created before
Romani’s deposition, MET was prejudiced by its late production and Selip’s failure to
produce any internal communications related to the calculation (or any other internal
communications).

        MET has no information about who performed the calculation, how the
calculation was performed, when the calculation was performed, or what instructions
were given to the person performing the calculation. Without this information, MET
could not properly prepare for Mr. Romani’s deposition and has had no opportunity to
obtain evidence from ZAP related to the hypothetical “air test.” Also, Selip’s blatant
disregard of the discovery rules have deprived MET of the opportunity to test this
hypothesis with its own expert. Requiring MET to develop this evidence at this late date
after document discovery has closed and the case has been pending for three years would
place a tremendous burden on MET and result in significant prejudice to MET. As a
result, Selip should be prohibited from entering evidence that the FRP piping would have
failed even if had been manufactured in accordance with MET’s specifications and
Selip’s design.

         Based on the above, MET respectfully requests that the Court grant it permission
to file a motion for sanctions against Selip, which will explain MET’s arguments and the
law in more detail.
Case 1:15-cv-00269-SES Document 85 Filed 09/13/18 Page 11 of 11



The Honorable Susan E. Schwab
September 13, 2018
Page 11


       Thank you for your attention to this matter. Please let me know if you have any
questions.



                                            Very Respectfully,

                                            /s/ Richard E. Coe
                                            Richard E. Coe

REC/cep

cc:    Michael D. Brophy, Esq.
